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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

Dr. Beverly M. Harris, > CASE NO.: 2:18-CV-10277-MCA-SCM

Plaintiff * JUDGES: Judge Madeline Cox Arleo

Mr. Thomas S. Bozzuto, Toby Bozzuto, et al., Magistrate Judge Steven C. Mannion
DEFENDANTS’ ANSWER TO
PLAINTIFF’S AMENDED
COMPLAINT

Defendants.

Bozzuto Group
Toby Bozzuto
Michelle Demetriou

Jennifer Alexander, Esq.

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

Defendants, The Bozzuto Group, Mr. Toby Bozzuto, and Ms. Michelle Demetriou
(collectively “Defendants”) by and through counsel, Griffin Alexander, P.C., hereby answers the
Complaint of Plaintiff Dr. Beverly M. Harris and assert Affirmative Defenses as follows:

AMENDED BRIEF/COMPLAINT

1. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 1 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

2. Defendants are without sufficient knowledge to form a belief as to the truth of the

allegations contained in Paragraph 2 which pertain to other individuals and entities other than the
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Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

3. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 3 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

4, Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 4 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

5. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 5 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

6. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 6 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

7. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 7 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

8. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 8 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

9. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 9 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.
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INTRODUCTION

10. The Defendants lack sufficient knowledge or information to determine the truth of
the allegation(s) in Paragraph 10 of the Complaint.

11. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 11 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.
12. Defendants are without sufficient knowledge to form a belief as to the truth of the

allegations contained in Paragraph 12 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

13. Defendants are without sufficient knowledge to form a belief as to the truth of the

allegations contained in Paragraph 13.

WHY VIOLATION OF PLAINTIFF’S RIGHTS BEGAN

14. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 14 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

15. The Defendants lack sufficient knowledge or information to determine the truth of
the allegation(s) in paragraph 15 of the complaint.

16. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 16 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

17. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 17 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.
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18. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 18 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

19. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 19 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

20. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 20 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

21. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 21 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

22. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 22 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

23. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 23 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

24. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 24 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

25. Defendants are without sufficient knowledge to form a belief as to the truth of the

allegations contained in Paragraph 25 which pertain to other individuals and entities other than the
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Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

26. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 26 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

27. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 27 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

HOW VIOLATION OF PLAINTIFF’S RIGHTS BEGAN

28. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 28 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

29. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 29 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied. |

30. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 30 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

31. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 31 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.
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PARTIES, JURISDICTION

32. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 32.

33. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 33.

34. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 34.

35. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 35.

36. | Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 36 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

37. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 37 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

38. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 38 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

39. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 39 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

40. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 40 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.
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41. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 41 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

42. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 42 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

43. Defendants are without sufficient knowledge to form a belief as to the truth of the

allegations contained in Paragraph 43.
Other Parties:

44, The allegation in Paragraph 44 makes no allegation. To the extent that it can be
construed to make an allegation against the Defendants, the allegation is denied.

45. Defendants admit that Michelle Demetrio is a resident of the State of New Jersey.
The remainder of the allegations of this Paragraph are denied.

46. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 46 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

47. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 47 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

48. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 48 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

49. Defendants are without sufficient knowledge to form a belief as to the truth of the

allegations contained in Paragraph 49 which pertain to other individuals and entities other than the
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Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

50. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 50 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

51. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 51 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

52. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 52 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

53. | Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 53 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

54. | Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 54 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

55. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 55 which pertain to other individuals and entities other than the
Defendants, and therefore these allegations are deemed denied. Further, as the allegation appears
unspecific as to which party the Plaintiff actually refers to as a defendant, this allegation is denied.

56. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 56 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.
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57. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 57 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

58. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 58 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

59. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 59 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

60. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 60 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

61. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 61 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

62. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 62 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

63. The allegation of Paragraph 63 is denied.

JURISDICATION AND VENUE

64. ‘The allegations of Paragraph 64 of the Complaint are denied.
65. Defendants are without sufficient knowledge to form a belief as to the truth of the

allegations contained in Paragraph 65 which pertain to other individuals and entities other than the
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Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

66. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 66 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

67. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 67 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

68. The allegations of Paragraph 68 of the Complaint are denied.
FACTUAL ALLEGATIONS AND DEFENSES

69. No factual allegation is made in Paragraph 69 of the Complaint. To the extent that
an allegation may be construed by this Paragraph to be against Defendants, it is denied.

70. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 70 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

71. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 71 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

72. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 72 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

73. Defendants are without sufficient knowledge to form a belief as to the truth of the

allegations contained in Paragraph 73 which pertain to other individuals and entities other than the

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Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

74. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 74 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

75. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 75 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

76. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 76 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.
77. The allegations of Paragraph 77 are denied.
78. The allegations of Paragraph 78 are denied.
79. No allegation is made in Paragraph 79. To the extent that Paragraph 79 may be

construed as making an against Defendants, it is denied.

80. No allegation is made in Paragraph 80. To the extent that Paragraph 80 may be

construed as making an allegation against Defendants, it is denied.

81. No allegation is made in Paragraph 81. To the extent that Paragraph 81 may be

construed as making an allegation against Defendants, it is denied.

Other Potential Bases for Liability:

82. No allegation is made in Paragraph 82. To the extent that Paragraph 82 may be

construed as making an allegation against Defendants, it is denied.

Entering Plaintiff’s Apartment without Her Knowledge and/or Permission:

83. The allegations of Paragraph 83 are denied.

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84. The allegations of Paragraph 84 are denied.
85. The allegations of Paragraph 85 are denied.

Other Offenses Against Plaintiff by Landlord:

86. The allegations of Paragraph 86 are denied.

FBI Conspired and Continued to Deprive Plaintiff of First, Second, Fourth, Fifth
and Fourteenth Amendment Rights in violation of 42 U.S.C. 1983, 1985 and 1986.

87. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 87 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

There is a Paragraph 81 at this point in the Complaint, which is out of sequence. It appears
to address other Defendants. To the extent that this Paragraph may be construed to create an
allegation against the Defendants, that allegation is denied.

88. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 88 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

89. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 89 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

90. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 90 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

91. Defendants are without sufficient knowledge to form a belief as to the truth of the

allegations contained in Paragraph 91 which pertain to other individuals and entities other than the

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Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

92. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 92 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

93. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 49 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

94. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 94 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

95. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 95 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these ©

Defendants, the allegation is denied.

96. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 96 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

97. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 97 which pertain to other individuals and entities other than the
Defendants. To the extent that this Paragraph may be construed to form an allegation against these
Defendants, the allegation is denied.

98. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 98 which pertain to other individuals and entities other than the

Defendants. To the extent that this Paragraph may be construed to form an allegation against these

Defendants, the allegation is denied.

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99. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 92 which pertain to other individuals and entities other than the
Defendants, and therefore these allegations are deemed denied.

100. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 100 which pertain to other individuals and entities other than
the Defendants, and therefore these allegations are deemed denied. Further, as the allegation
appears unspecific as to which party the Plaintiff actually refers to as a defendant, this allegation
is denied.

101. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations-contained in Paragraph 101 which pertain to other individuals and entities other than
the Defendants. To the extent that this Paragraph may be construed to form an allegation against
these Defendants, the allegation is denied.

102. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 102 which pertain to other individuals and entities other than
the Defendants, and therefore these allegations are deemed denied. Further, as the allegation
appears unspecific as to which party the Plaintiff actually refers to as a defendant, this allegation
is denied.

103. Defendants are without sufficient knowledge to form a belief as to the truth of the.
allegations contained in Paragraph 103 which pertain to other individuals and entities other than
the Defendants. To the extent that this Paragraph may be construed to form an allegation against
these Defendants, the allegation is denied.

104. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 104 which pertain to other individuals and entities other than
the Defendants, and therefore these allegations are deemed denied. Further, as the allegation
appears unspecific as to which party the Plaintiff actually refers to as a defendant, this allegation
is denied.

105. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 1053 which pertain to other individuals and entities other than
the Defendants, and therefore these allegations are deemed denied. Further, as the allegation

appears unspecific as to which party the Plaintiff actually refers to as a defendant, this allegation

is denied.

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The First Amendment to the Constitution:

106. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 106 which pertain to other individuals and entities other than
the Defendants, and therefore these allegations are deemed denied. Further, as the allegation
appears unspecific as to which party the Plaintiff actually refers to as a defendant, this allegation
is denied.

107. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 107 which pertain to other individuals and entities other than
the Defendants, and therefore these allegations are deemed denied. Further, as the allegation
appears unspecific as to which party the Plaintiff actually refers to as a defendant, this allegation
is denied.

108. There does not appear to be an allegation in Paragraph 108, but to the extent that
this Paragraph may be construed as making an allegation against the Defendants, it is denied.

109. There does not appear to be an allegation in Paragraph 109, but to the extent that
this Paragraph may be construed as making an allegation against the Defendants, it is denied.

. 110. There does not appear to be an allegation in Paragraph 110, but to the extent that
this Paragraph may be construed as making an allegation against the Defendants, it is denied.

111. There does not appear to be an allegation in Paragraph 111, but to the extent that
this Paragraph may be construed as making an allegation against the Defendants, it is denied.

112. There does not appear to be an allegation in Paragraph 112, but to the extent that
this Paragraph may be construed as making an allegation against the Defendants, it is denied.

113. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 113 which pertain to other individuals and entities other than
the Defendants. To the extent that this Paragraph may be construed to form an allegation against

these Defendants, the allegation is denied.

Privacy, Defamed, Retaliated, and Illegally Abused Their Power:

114. There does not appear to be an allegation in Paragraph 114, but to the extent that

this Paragraph may be construed as making an allegation against the Defendants, it is denied.

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115. There does not appear to be an allegation in Paragraph 115, but to the extent that
this Paragraph may be construed as making an allegation against the Defendants, it is denied.

116. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 116 which pertain to other individuals and entities other than
the Defendants. To the extent that this Paragraph may be construed to form an allegation against

these Defendants, the allegation is denied.

Invasion of Privacy, Defamation and Retaliation:

117. There does not appear to be an allegation in Paragraph 117, but to the extent that
this Paragraph may be construed as making an allegation against the Defendants, it is denied.
118. There does not appear to be an allegation in Paragraph 118, but to the extent that
this Paragraph may be construed as making an allegation against the Defendants, it is denied.
119. There does not appear to be an allegation in Paragraph 119, but to the extent that
this Paragraph may be construed as making an allegation against the Defendants, it is denied.
120. There does not appear to be an allegation in Paragraph 120, but to the extent that
this Paragraph may be construed as making an allegation against the Defendants, it is denied.
121. There does not appear to be an allegation in Paragraph 121, but to the extent that
this Paragraph may be construed as making an allegation against the Defendants, it is denied.
122. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 122 which pertain to other individuals and entities other than
the Defendants. To the extent that this Paragraph may be construed to form an allegation against

these Defendants, the allegation is denied.

Negligence by Dr. Garland Gossett:

123-127. The allegations against Dr. Garland Gossett are not related to Defendants. To the
extent that these paragraphs may be construed as making an allegation as against Defendants, they

are denied.

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Dr. Stefan Gress ~ Munich, Germany:

128-138 The allegations against Dr. Stefan Gress are not related to Defendants. To the

extent that these paragraphs may be construed as making an allegation as against Defendants, they

are denied.

Plaintiff's Defense:

Paragraphs 139 — 141 The allegations of these Paragraphs are not related to Defendants.

- To the extent that these Paragraphs may be construed as making allegations against Defendants,

they are denied.

Qualified Immunity:

142. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations contained in Paragraph 106 which pertain to other individuals and entities other than

the Defendants, and therefore these allegations are deemed denied.

COUNT I - AGAINST ALL DEFENDANTS:

143. No factual allegation is made. To the extent that this paragraph may be construed as
making an allegation against the Defendants, it is denied. |

144. Paragraph 144 of the Complaint is denied.

145, Paragraph 145 makes no allegation against Defendants. To the extent that it may be
construed as making an allegation against Defendants, it is denied.

146. No factual allegation is made against Defendant. To the extent that this paragraph may

be construed as making an allegation against Defendants, it is denied.

147. No factual allegation is made against Defendant. To the extent that this paragraph may

be construed as making an allegation against Defendants, it is denied.

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COUNT 2 —- AGAINST ALL DEFENDANTS

148. Defendants repeat and reallege each and every answer to the First Count as though
incorporated at length herein.
149. Paragraph 149 is denied.
150. Paragraph 150 is denied.
151. Paragraph 151 is denied.
152. Paragraph 152 is denied.
153. Paragraph 153 is denied.
154, Paragraph 154 is denied.

COUNT Ill —- AGAINST ALL DEFENDANTS

155. Defendants repeat and reallege each and every answer to the First and Second Counts

as though incorporated at length herein.
156 — 165 These Paragraphs do not allege wrongdoing on the part of Defendants. To the

extent that any of these paragraphs may be construed as making allegations against Defendants,

they are denied.

COUNT IV —- AGAINST ALL DEFENDANTS

166. Defendants repeat and reallege each and every answer to the First through Third

Counts as though incorporated at length herein.

167-172 These Paragraphs do not allege wrongdoing on the part of Defendants. To the
extent that any of these paragraphs may be construed as making allegations against Defendants,

they are denied.

COUNT V - AGAINST ALL DEFENDANTS

173. Defendants repeat and reallege each and every answer to the First through Fourth

Counts as though incorporated at length herein

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174-177 These Paragraphs do not allege wrongdoing on the part of Defendants. To the
extent that any of these paragraphs may be construed as making allegations against Defendants,

they are denied.
CONCLUSION:

178-181 These Paragraphs do not allege wrongdoing on the part of Defendants. To the
extent that any of these paragraphs may be construed as making allegations against Defendants,

they are denied.

WHEREFORE, Defendants demand that the Complaint against them be dismissed.

AFFIRMATIVE DEFENSES

FIRST DEFENSE

The Amended Complaint fails to state a claim against Jennifer Alexander, Esq. Bozzuto Group,
Toby Bozzuto and Michele Demetriou upon which relief can be granted.

SECOND DEFENSE

Upon information and belief, Plaintiff's claims are barred, in whole or in part, by applicable
statutes of limitations.

THIRD DEFENSE

Upon information and belief, Plaintiffs claims are barred, in whole or in part, based upon the
doctrines of accord and satisfaction, release, waiver and estoppel.

FOURTH DEFENSE

Upon information and belief, Plaintiffs claims are barred, in whole or in part, because all decisions
made with regard to the Plaintiff's tenancy were at all times motivated by legitimate, non-
discriminatory and lawful factors, and the Bozzuto Group and/or its agents and assigns at no time
acted in an unlawful manner in connection with any decision regarding the Plaintiff.

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FIFTH DEFENSE

Upon information and belief, Plaintiff’s claims are barred, in whole or in part, because of undue
hardship.

SIXTH DEFENSE

Plaintiff's claims are barred to the extent that Toby Bozzuto and Michele Demetriou and the
Bozzuto Group and/or its agents or assigns made good faith efforts to reasonably accommodate
Plaintiff.

SEVENTH DEFENSE

Plaintiff’s claims are barred, in whole or in part, by the fact that Toby Bozzuto and Michele
Demetriou and the Bozzuto Group and/or its agents or assigns established procedures reasonably
designed, implemented and enforced to be effective in preventing and detecting unlawful conduct
such as alleged by Plaintiff.

- NINTH DEFENSE

Upon information and belief, Plaintiff's claims are barred, in whole or in part, by Plaintiff's failure
to take reasonable steps to mitigate her claims of damages, the existence of such damages being
herby denied.

TENTH DEFENSE

Plaintiff's damages claims are barred because Toby Bozzuto and Michele Demetriou and the
Bozzuto Group and/or its agents or assigns did not act with malice or with reckless indifference to
the federally protected rights of the Plaintiff.

/s/ Robert C. Griffin, Esq.
Robert C. Griffin , Esq.
GRIFFIN ALEXANDER, P.C.
415 Route 10, 2"! Floor
Randolph, NJ 07869

(973) 366-1188

(973) 366-4848 (Facsimile)

Email: rgriffin@lawgape.com

Dated: July 30, 2019

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